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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


 In re:

 CraftWorks Parent, LLC                             Chapter 11

                        Debtor.                     Case No. 20-10475-BLS



               NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

        PLEASE TAKE NOTICE that David G. Sommer and Gallagher Evelius & Jones LLP,
appear herein as counsel for creditor and party in interest, Harbor East – Office LLC, pursuant to
Section 1109 (b) of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 9010(b), and
request, pursuant to Bankruptcy Rule 2002, 3017, and 9007, and Sections 342 and 1109(b) of the
Bankruptcy Code, that copies of all notices and pleadings given or required to be given in the
above case and any related adversary proceedings, and all papers served or required to be served
in this or any other related case, be given to and served upon the undersigned at the following
address:

                             David G. Sommer, Esquire
                             Gallagher Evelius & Jones LLP
                             218 N. Charles Street, Suite 400
                             Baltimore, MD 21201
                             Telephone: 410-951-1414
                             dsommer@gejlaw.com


        PLEASE TAKE FURTHER NOTICE that, pursuant to Section 1109(b) of the Bankruptcy
Code, the foregoing request includes not only the notices and papers referred to in the Rules
specified above, but also includes, without limitation, any order, notice, application, complaint,
demand, motion, petition, pleading, or request, whether formal or informal, written or oral, and
whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex, or otherwise filed
or made with regard to the referenced case and proceeding herein.

         PLEASE TAKE FURTHER NOTICE that this entry of appearance and request for notice
is not intended as nor is it a consent of Harbor East – Office LLC to the jurisdiction of the United
States Bankruptcy Court for the District of Delaware nor specifically but not limited to (i)
Harbor East – Office LLC’s right to have the reference withdrawn by the United States District
Court for the District of Delaware in any matter subject to mandatory or discretionary
withdrawal or (ii) Harbor East – Office LLC’s right to trial by jury in any proceeding so triable
herein, or in any case, controversy, or proceeding related hereto, (iii) Harbor East – Office LLC’s
right to have final orders in non-core matters entered only after de novo review by a district
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judge, or (iv) any other rights, claims, actions, defenses, setoffs, or recoupments to which Harbor
East – Office LLC is or may be entitled under any agreement, in law, or in equity, all of which
rights, claims, actions, defenses, setoffs, and recoupments Harbor East – Office LLC expressly
reserves.

                                             Respectfully submitted,


Dated:    March 18, 2020                         /s/ David G. Sommer
                                             David G. Sommer, Esquire, Fed. Bar No. 27581
                                             Gallagher Evelius & Jones LLP
                                             218 N. Charles Street, Suite 400
                                             Baltimore, MD 21201
                                             Telephone: 410-951-1414
                                             dsommer@gejlaw.com
                                             Counsel for Harbor East – Office LLC

                               CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of March, 2020, a copy of the foregoing Notice of
Appearance and Request for Notices was sent via CM/ECF electronic mail to the parties listed on
the Court’s Electronic Mail Notice List.


                                                   /s/
                                             David G. Sommer




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